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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

BENNY SHABTAI and BNDD SHABTAI
INVESTMENTS LLC
         Plaintiffs                                    CIVIL ACTION
                                                       NO.
       VS.

SHABTAI, INC. (f/k/a Eliezer, Inc.)
and SAMUEL HECT,

               Defendants                              JULY 25, 2019


                                          COMPLAINT

        The Plaintiffs, BENNY SHABTAI and BNDD SHABTAI INVESTMENTS LLC

(collectively, the "Plaintiffs"), by their attorneys, Halloran & Sage, LLP, as and for their

Complaint against the Defendants, SHABTAI, INC. and SAMUEL HECT a/k/a SHMULLY

HECHT (collectively, the "Defendants"), respectfully set forth, represent and allege as follows:

                                          THE PARTIES

        I.     The plaintiff, Benny Shabtai, is an Israeli citizen, individual residing in Miami

Beach, Florida.

        2.     The plaintiff, BNDD SHABTAI INVESTMENTS LLC, is a Florida limited

liability company with a principal place of business in Miami Beach, Florida.

        3.      Upon information and belief, defendant SHABTAI, INC., formerly known as

Eliezer, Inc., is a Connecticut non-stock corporation with offices located in New Haven,

Connecticut 06511 and is a Jewish leadership society located at Yale University in Connecticut

(the "Corporate Defendant"). The Corporate Defendant is arguably a tax-exempt charitable




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organization pursuant to Section 501(c)(3) of the U.S. Internal Revenue Code of 1986, as

amended (the "Code").

       4.      Upon information and belief, defendant Samuel Hect a/k/a Shmully Hecht (the

"Individual Defendant"), is an individual residing in New Haven, Connecticut and is the director

and de-facto chief executive officer of the Corporate Defendant.

                                     JURISDICTION AND VENUE

       5.      This is an action seeking declaratory relief which is brought pursuant to 28 U.S.C.

§§ 1332, 2201, and 2201. The amount in controversy, exclusive of interest and costs, exceeds

$75,000.00, based upon the nature of the damages allegedly sustained by the Plaintiffs.

       6.      Venue is appropriate pursuant to 28 U.S.C. § 1391 because a substantial part of

the alleged events or omissions giving rise to this action occurred in the District of Connecticut.

                      FACTS COMMON TO ALL CAUSES OF ACTION

       7.      On or about August 1, 2014, the Plaintiffs agreed to make certain restricted and

conditional donations and commitments to the Corporate Defendant, in reliance on the

Defendants representations and promises to take certain actions and make certain investments

consistent with the Plaintiffs' express intent (the "Agreement"). The Agreement is memorialized

in detail in an August 7, 2014 email by and between the Individual Defendant and, inter alia,

Plaintiffs, attached hereto and made a part hereof as Exhibit A.

       8.      As set forth further below, the Plaintiffs expressly conditioned their donations to

the Defendants so long as Defendants agreed to honor the terms and conditions of the

Agreement. In addition, the Defendants represented to the Plaintiff that the Orange Street

Property, the purchase of which the Plaintiff funded, will be the new vibrant home of the Jewish

Society at Yale (then known as Eliezer, Inc.) and that substantial additional funds would be


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raised for the Corporate Defendant in order to completely renovate and modernize the building

and to enable the operations of such society at such location at a high standard.

       9.      In addition, the Plaintiffs relied on the Defendants' representations that Benny

Shabtai would be made a trustee of the Corporate Defendant. This, as well as the other

representations made, were the basis for the Plaintiffs' agreement to make their donations and

commitments.

       10.     Beginning in August 2014, the Plaintiffs, pursuant to the Agreement, tendered and

the Defendants accepted restricted and conditional donations, totaling over $1.7 Million (the

"Donations"). The Defendants knew, and acknowledged in writing, that the Plaintiffs'

Donations were specifically intended to, and were made expressly to be used for, inter alia:

               a.      the Corporate Defendant's purchase and renovations of certain real

       property located at 442 Orange Street, New Haven Connecticut (the "Orange Street

       Property"), to become the new home of the Jewish Society at Yale University, operated

       then under the name Eliezer Inc. (the "Jewish Society");

               b.      the Orange Street Property to be named "Beit Shabtai";

               c.      the Corporate Defendant to change its name from "Eliezer Inc." to its

       current name, "Shabtai, Inc.";

               d.      the website called Shabtai.tv and or Shabtai.org and/or Shabtai.com to be

        the new website for the society;

               e.      Plaintiffs to jointly allocate an additional $1.5 Million to distribute a

        minimum of $72,000.00 per year to help sustain a portion of the $750,000.00 budget for

        the Corporate Defendant. This gift would continue for a minimum of 20 years;




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                f.     the Plaintiff Benny Shabtai to be voted in as a fourth trustee of the

       Corporate Defendant;

               g.      the Rabbi of the Corporate Defendant to always be of Chabad influence;

               h.      Should Shabtai Inc. be caused to dissolve and/or liquidate its assets, the

       funds to be re-allocated to another non-profit determined by the trustees, to the extent

       possible under State and Federal law;

                i.     the Defendants to raise $1,500,000.00 earmarked for the renovate and

       furnish its new home at the Orange Street Property; and

               j.       the Defendants to raise an additional $15 Million to endow Shabtai, Inc.

        11.     Plaintiffs have paid to Defendants $1,714,750.00 on account of the restricted and

conditional endowment donations pursuant to the Agreement. A schedule of Plaintiffs'

Donations to the Corporate Defendant is annexed hereto as Exhibit B.

        12.     Notwithstanding the Plaintiffs' performance under the Agreement, the Defendants

have failed to perform their obligations under the Agreement and breached their representations

and fiduciary duties to the Plaintiffs.

        13.     Upon information and belief, and despite the passage of nearly five (5) years, the

Orange Street Property has not been renovated.

        14.     Upon information and belief, and despite the passage of nearly five (5) years,

Plaintiffs' Donations have been used for purposes outside the Agreement.

        15.     Upon information and belief, and despite the passage of nearly five (5) years,

Benny Shabtai has not been made a trustee of the Corporate Defendant.

        16.     Despite the Defendants' obligations, and the Plaintiffs' demands, the Defendants

have refused to account to the Plaintiffs.



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       17.     Plaintiffs have sought information from the Defendants about the use of the

Donations in connection with these restricted and conditional donations and commitments.

Defendants, however, have failed and refused to provide such information to the Plaintiffs and

have given the Plaintiffs only incomplete and unsatisfactory answers to the Plaintiffs' legitimate

questions and have refused to comply with the restrictions or conditions of the various donations

and commitments pursuant to the Agreement.

       18.     Defendants owe Plaintiffs a fiduciary duty in connection with that restricted and

conditional endowment gifts made pursuant to the Agreement and based on Defendants'

representations.

       19.     On December 3, 2018, Plaintiffs, through their former counsel, Steptoe &

Johnson LLP ("Steptoe"), sent a letter (the "December 3rd Letter") to Defendants offering a

grace period through to the end of March, 2019 for Defendants to honor their part of the

Agreement. A copy of the December 3rd Letter is attached hereto and made a part hereof as

Exhibit C.

       20.      On March 13, 2019, having received no response to the December 3rd Letter,

Plaintiffs, through Steptoe, sent a final notice to Defendants demanding a response (see Exhibit

D attached hereto and made a part hereof).

       21.      Through a continuing pattern and practice of withholding material information,

making unilateral decisions and violating the terms and conditions of the restricted and

conditional donations and commitments pursuant to the Agreement, the Defendants have

breached the terms and conditions of the donations and commitments of the Plaintiffs, as well as

their fiduciary duties.




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        22.     As of the commencement of this action, Defendants have continued to fail to

honor their terms of the Agreement.

        23.     Through their malfeasance and nonfeasance, as set forth herein, the Defendants

have interfered with the mission, goals and objectives of the Jewish Society, causing its purpose

to be unfulfilled.

COUNT ONE (Declaratory Judgment)

        1. — 23.          Paragraphs 1 through 23 above are hereby realleged and incorporated

herein by reference as paragraphs 1 through 23 of Count One.

        24.     The endowment gift of Plaintiffs to Defendants, pursuant to the Agreement, was a

restricted and conditional endowment gift which was subject to certain terms and conditions of

the Plaintiffs and Defendants breached those terms and conditions.

        25.     The endowment gifts and Donations of Plaintiffs to Defendants were restricted

and conditional gift commitments and the conditions thereof were set forth in the Agreement

between the parties.

        26.        The Defendants did not comply with the terms and conditions of the Agreement

and are in breach thereof.

        27.        Plaintiffs have a legal and/or equitable interest at stake in this controversy because

of the Defendants failure to recognize their rights and obligations under the Agreement, and an

interest sufficient to confer standing to maintain this action concerning the restricted and

conditional gifts and the Donations given to Defendants.

        28.        There is an actual bona fide and substantial question and dispute between the

Plaintiffs and the Defendants as to the rights and obligations of the parties under the Agreement

and with regard to the restricted and conditional gifts and the Donations.



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          29.    By reason of the foregoing, a justiciable controversy exists between the Plaintiffs

and the Defendants.

          30.    All interested parties have been joined as parties to this declaratory judgment

action.

          31.    Plaintiffs respectfully request that the Court enter judgment against the

Defendants declaring and adjudicating the respective rights and obligations of Plaintiffs and

Defendants as set forth hereinabove with respect to the restricted and conditional gifts and the

Donations given by Plaintiffs to the Defendants.

COUNT TWO (Accounting)

          1. — 23.          Paragraphs I through 23 of Count One are hereby realleged and

incorporated herein by reference as paragraphs 1 through 23 of Count Two.

          24.        Plaintiffs made certain restricted and conditional gifts and commitments to the

Defendants, which included, among other things $1,714,750.00 pursuant to the Agreement.

          25.        Through their failure to make Benny Shabtai a trustee, the Defendants have

denied the Plaintiffs immediate access to their actions, expenditures and accountings.

          26.        Defendants owe a fiduciary duty to the Plaintiffs to carry out and comply with the

stated and implied terms, conditions and restrictions of the restricted and conditional gifts and

the Donations as set forth in the Agreement.

          27.        Despite due demands, Defendants have failed to deliver all material and relevant

financial information concerning the restricted and conditional gifts and the Donations,

including, but not limited to, specific and complete information regarding distributions and other

expenditures of the Defendants relating to the aforesaid matters.




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       28.     Upon information and belief, the restricted and conditional gifts and the

Donations have been and are being misapplied in violation of the terms, conditions and

restrictions of the said gifts, endowment gifts and gift commitment.

       29.     Plaintiffs are entitled to and seek an order of this Court to require Defendants to

provide a forensic accounting of their donations received, income and expenditures since (and

including) August 2014 in order to determine whether Defendants have complied with the terms

of the Agreement.

COUNT THREE (Specific Performance)

       1. — 31.          Paragraphs 1 through 31 of Count One are hereby realleged and

incorporated herein by reference as paragraphs 1 through 31 of Count Three.

       32.        The terms, conditions and restrictions of the restricted and conditional gifts and

the Donations are binding upon the Defendants and enforceable by Plaintiffs.

       33.        Having declared and adjudicated the respective rights and obligations of the

Plaintiffs and Defendants with respect to the restricted and conditional gifts and the Donations

given by Plaintiffs to Defendants, the Court should order the specific performance by the

Defendants of their obligations with respect to the aforesaid gifts.

       34.        Defendants have not honored their part of the Agreement and the restricted and

conditional gifts and the Donations have been improperly used for purposes outside the agreed to

terms and conditions of same, and they have neglected to name Benny Shabtai as a trustee.

       35.        The Court should direct the Defendants to restore any and all improperly diverted

sums, together with interest, to the Corporate Defendant, to raise the additional funds to the

Corporate Defendant, complete the restoration of the new building and fully relocate the Jewish

Society to the new building at the Orange Street Property.



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       36.     The Court should order the specific performance by the Defendants of their

obligations with respect to the Agreement.

       37.     In the event that the Defendants decline or refuse to perform their obligations, as

declared by the Court, with respect to the restricted and conditional gifts and the Donation, the

Court should direct that the $1,714,750.00 restricted and conditional endowment gift be returned

by Defendants to Plaintiffs, or, in the alternative that it be paid into Court subject to further

application of the parties.

       38.      The Plaintiffs have no adequate remedy at law.

COUNT FOUR (Violation of the Duty of Obedience to the Charitable Mission and the Intent
         and Wishes of the Donors - Conn. Gen. Stats. ,§ 45a-535)

        1. — 29.          Paragraphs 1 through 29 of Count Two are hereby realleged and

incorporated herein by reference as paragraphs 1 through 29 of Count Five.

        30.        Directors and officers of a charitable not-for-profit corporation like the Corporate

Defendant, including the Individual Defendant, have a duty of obedience to ensure that the

mission of the charitable organization is carried out, as codified in part by Conn. Gen. Stats. §

45a-535.

        31.        The Defendants have violated, are continuing to violate, and threaten to continue

to violate that duty with their actions relating to the Jewish Society.

        32.        The Defendants also have a duty to be faithful to the wishes of the creators and

donors of the Jewish Society.

        33.        The Defendants have violated, are continuing to violate, and threaten to continue

to violate that duty with their actions relating to the relationship of the Plaintiffs with the Jewish

Society.




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       34.     The actions that the Defendants have taken or may take with respect to the

relationship of Plaintiffs with the Jewish Society are illegal and in violation of the duties

described above.

       35.     The illegal actions that Defendants have taken, and may take, with respect to the

relationship of Plaintiffs with the Jewish Society violated, continues to violate and threatens to

continue to violate Plaintiffs' rights, and have caused, and threaten to continue to cause, Plaintiff

irreparable harm and damage.

       WHEREFORE, Plaintiff respectfully demands judgment as requested herein, on each of

its causes of action, for the costs incurred of the suit herein and for such other and further relief

as this Court deems just and proper.

                                               THE PLAINTIFFS,

                                               BY:      is/ CT30521
                                                       William W. Bohonnon
                                                       Fed Bar #: CT30521
                                                       Gerald T. Giaimo
                                                       Fed Bar #: CT14885
                                                       Halloran & Sage LLP
                                                       265 Church Street- Suite 802
                                                       New Haven, CT 06510
                                                       Tel: 203-672-5489
                                                       Fax: 203-672-5480
                                                       Email: giaimoehalloransage.com ;
                                                       bohonnonehalloransage.com
                                                       Their Attorneys




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        From: Shmully Hecht fmailto:shmullve279crown.orql
        Sent: Thursday, August 07, 2014 11:50 AM
        To: 'Benny Shabtai'; OBK; 'Oliver Ben Karp'; Rochester, Shaya; Kara
        Rochelle
        Subject: 18 Years
        Importance: High

        Benny

        I am doing Ben Karp and Shaya Rochester , the other 2 other trustees of
        Eliezer Inc The CT 501 C3 corporation that functions as the Jewish
        Society at Yale and owns Bait Shabtai at 279 Crown Street and the Real
        Estate at 271, 277 ,and 281 Crown Street.

        This email will serve as a memo for some decisions we have made . The
        relevant legal issues will be documented by Shaya and approved by our
        non profit lawyer to make sure we comply with CT and Federal Laws
        regarding non profits. They will be signed by the 4 trustees when we all
        agree on final language and details.

   1.      We are going to contract today for the purchase of 442 Orange Street
        which will become the new home of our Society . Kara will send wiring
        info for the 100k deposit that is not refundable. Benny once again is
        being extremely generous
   2.      An additional 1.4 million dollars will be wired by Benny when the seller
        can deliver the building empty. This will take 3-6 weeks
   3.      The building will be called Beit Shabtai and no other name will be
        allowed on the interior or exterior of the building . This will be forever .
        Rooms can be named by donors in Beit Shabtai.
   4.      The name of the Society will be legally changed from Eliezer to
        Shabtai . A subtitle " the Jewish Society at Yale" or " the Jewish
        leadership society" or " the global Jewish leadership society " may be
        used but only under the " Shabtai" head title.
   5.      Eliezer, like Chai Society will be dropped from any future literature ,
        p►ess and legal docs. This may take some time but will ultimately be a
        seamless process.
   6.      All literature going forward both in print and email will reflect the new
        name of the society- " Shabtai "
   7.      A website called Shabtai.tv and or Shabtai.orq and or Shabtai.com will
        be the new website for the society . We will begin to have a public
        website of some sort to be determined by our members and trustees.
   8.      In addition to the purchase of Beit Shabtai , Benny is allocating an
        additional 1.5 million dollars of his private charity to distribute a minimum
        of 72k a year to help sustain a portion of the 750k budget for the society
        . This gift is for a minimum of 20 years.
   9.      Benny will be voted in as a fourth trustee to the corporation " Shabtai "
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   10. The Rabbi of Shabtai will always be of Chabad influence
   11. Should the Society ever need to close and or liquidate its assets , the
       funds will be allocated to another non-profit determined by the trustees,
       to the extent possible under Ct and Federal Law
   12. The organization will begin to raise 1.5 million dollars to renovate and
       furnish its new home at 442 Orange and will begin to raise 15 million
       dollars to endow the society.
   13. The key-holding members and major donors to the existing Eliezer at
      Beit Shabtal will be informed of these above mentioned decisions made
      by the trustees . A symbolic vote will be held on a conference call or
      email by the broader membership to sustain a sense of inclusivity

       Gentlemen please advise if I missed anything , suggestions , errors, etc

       Shmully




       No virus found in this message.
       Checked by AVG - www.avg.com
       Version: 2013.0.3485 /Virus Database: 3955/7997 -
       Release Date: 08/07/14
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       EXHIBIT B
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1:12 PM                                                           Benjamin Shabtai
11109118                                                Transaction Detail By Account
Accrual Basis                                                          Ali Transactions


           Type          Date        Num                                  Memo            CIr         Split        Amount           Balance
   Donations
      Credit         04113/2014              Sett Shabtal   passover seder                       JP Morgan             10.000.00         10,000.00
      Check          05/01/2014     WIRE     Belt Shabtal   #2014050100012143                    Suntrust *8451         3.000 00         13 000.00
      Check          05/3012014     WIRE     Belt Shabtal                                        &Intrust 094414        3.000.00         18,000.00
      Check          06/30/2014     wire     Belt Shabtal                                        Sunnis! 08444          3.000 00         19.000.00
      Check          07/30/2014     WIRE     Belt Shabtal                                        Suntrust 06444         3 000 00         22.000 00
      Check          08/11/2014     WIRE     Belt Shabtal                                        EUnIniSt 0,8444      100 000 co        122,000.00*
      Check          08/29/2014     W1R      Best Shabtai   monthly                              Suntrust #6444         3,000.00        125.000.00
      Check          09/30/2014     OD       Bell Shabiai   monthly                              Suntrust 06444         3,000 00        128,000 00
      Check          09/30/2014     WIRE     Belt Shabtai   catch up payment for 58K             Suntrust 06451         3 000.00       131,000 00
      Check          10/30/2014     OD       Belt Shabtat   monthly                              Suntrust 08444         6 000.00        137,000 00
      Genet          10131/2014     005.4    Belt Shabtal                                       M04702003           1.40.0.000 00    1,537,000.00
      Check          12101121314    WIRE     Belt Shabtai   monthly                              Suntrust 06444         6,000.00     1.543.000.00
      Check          12/30/2014     WIRE     Belt Shablat   monthly                              Suntrust 06444         6.000,00     1,549,000.00
      Check          01/30/2015     WIRE     Belt Shabtat   monthly                              Suntrust #8444         6:000.00     1 555.000.00
      Check          03102/2015     WIRE     Belt Shabtai   monthly                              Suntrust #6444         6 000 00     1.561.000.00
      Check          03/30/2015     WIRE     Belt Shabtai   monthly                              Sunuust 06444          6.000 CO     1.567 000 00
      Check          04/30/2015     WIRE     Bell Shabtal   monthly                             Suntrust 08444          8:000 00
                                                                                                                       .6            1,573,000.00
      Gener          04/30/2015              Belt Shabtai   Funds Transfer                       Suntrust #8444                      1,567.000.00
      Check          05/04/20 I 5   WIRE     Bert Shabtai   UPDATED BANKING INFO #2             Suntrusi 06461         6,000 00      1.573.000 00
      Check          06/01/2015     WIRE     Belt Shabtal   monthly                              Suntrust 08444        6,000.00      1.579 000.00
      Check          06/30/2015     OD       Bell Shabtai   monthly                             Suntrust #6444         8.000.00      1,585,000.00
      Check          07/30/2015     DO       Bait Shabtai   monthly                             Suntrust 114444        8,000 00      1,591,000.00
     Check           05/31/2015     OD       Belt Shabtal   monthly                             Suntrust 08444         6,000 00      1,597,000,00
     Check           0013012015     WIRE    Best Shabtai    monthly                             Suntrust 06444         5000.00       1,803,000.00
     Check           10130/2015     WIRE     Belt Shabtai   monthly                             Suntrust 02444         8,000.00      1,509,000.00
     Check           11/3=015       WIRE    Belt Shabtai    monthly                             Suntrust 06444         8,000 00      1,615,000.00
     Check           12/30/2015     WIRE     Bed Shabtai    monthly                             Suntrust 06444         6
                                                                                                                       8.00
                                                                                                                         000
                                                                                                                           0:0000    1,621,000 00
     Check           021131/2018    WIRE    Belt Shabtat    monthly                             Sunirust 18444                       1.627.000.00
     Check           02/29/2018     WIRE    Belt Shabtat    monthly                             Suntrust 08444         6,000.00      1,833,000.00
     Check           03/30/2016     WIRE    Belt Shabtal    monthly                             Suntrust 08444         6.000 00      1,839,000.00
     Check           05/0212016     WIRE    Belt Shabtai    monthly                             Suntrust 06444         6,000,00      1,645,000.00
     Check          05/31/2018      WIRE    Bell Shabtal    monthly                             Suntrust 06444         8 000 00      1 651:0
                                                                                                                                         7 0oco.r o
     Check          06/30/2018      WIRE    Belt Shabtai    monthly                             Suntrust 06444         6,000 00      1,85
     Check          08/01/2016      WIRE    Belt Shabtai    monthly                             Suntrust 16444         8,000.00      1,663,000.00
     Check          08/31/20113     WIRE    Belt Shablat    monthly                             StuilltiSt #6444       15.000.00    1,889,000.00
     Check          09/30/2016      WIRE    Belt Shablat                                        Suntrust 08444         8.000.00      1,675 000.00
     Check          10/31/2016      WIRE    Belt Shablal                                        Suntrust n444          6.000,00     1.681.000 00
     Check          11/30/2018      WIRE    Belt Shabtai                                        Suntrust #8444         1,800.00      1,682,800.00
     Check          17130/2016      DO      Belt Shabtal                                        Suntrust 06444         1,800.00     1,884,800 00
     Check          01/30/2017      WIRE    Bell Shabtal                                        Suntrust 06444         1 800.00     1.885.400 00
     Cheek          02/28/2017      WIRE    Belt Shabtat                                        Suntrust 16444         1 800.00     1,689,200.00
     Check          03n014017       WIRE    Bait Shabtai                                        Sunirust 08444         1.800,00     1.600.000.00
     Check          05/01/2017      WIRE    Belt &wnt                                           Suntrust 08444         1,600.00     Lew liori.co
     Check          051302019       00      Bell Shabtal                                        Suntrust 06444         1,600.00     1,693,600.00
     Check          06/30/2017      DO      Bell Shabtai                                        Suntrust 113444        1,800.00     1,695,400.00
     Check          07/31/2017      WIRE    Belt Shabtai                                        Suntrust 06444         1,800.00     1,897,200.00
     Check          08/30/2017      WIRE    Belt Shabtai                                        Suntrust 06444         1,800,00     1.620.000 00
     Check          10102/2017      WIRE    Belt Shabtai                                        Suntrust 16444         1,800.00     1.700,800:00
     Check          10/30/2017      WIRE    Bait Shabtai                                        Suntrust 06444         1
                                                                                                                       1:m
                                                                                                                         800..0
                                                                                                                              00    1,702,600.00
     Check          11/30/2017      WIRE    Belt Shabtai                                        Suntrusl 084414                     1,704,40000
     Check          01/0212018      DO      Belt Shabtat                                        Suntrust 08444         1 800.00     1,708,200.00
     Check          01/30/2018      DO      Bait Shabtai                                        Suntrust #6444         1100.00      1.708.000.00
     Check          02/28/2018      WIRE    Belt Shabtai                                        Suntrust $0444           750,00     1,708,750.00
     Check          03128/2018      WIRE    Bell Shabtai                                        Suntrust 06444           750.00     1,709,500.00
     Check          04/30/2018      WIRE    Belt Shabtal                                        Suntrust 06444          750.00      1.710.250.00
     Check          05/29/2016      WIRE    Belt Shabtai                                        Suntrust 06444          750 00      1,711,00000
     Check          06/28/2018      WIRE    Belt Shabtai                                        Suntrust 08444          750 00      Litt 750 00
     Check          07/30/2018      WIRE    Belt Shabtai                                        Suntrust 06444           750,00     1,712 500.00
     Check          08/28/2018      WIRE    Belt Shablal                                        Suntrust se444          750 00      1.713,250 00
     Check          10101/2018      WIRE    Beit Shabtal                                        Suntrust 08444          750 00      1,714,000 00
     Check          10/29/2018      WIRE    Belt Shabtai    donation                            Suntrust 06444          750.00      1,714,750.00
  Total Donations                                                                                                  1,714,750.00     1,714,750.00
TOTAL                                                                                                              1,714,750.00     1,714,760.00




                                                                                                                                         Page 1
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       EXHIBIT C
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Charles Michael
212 378 7604
omichael@steptoo.corn
                                                                                 Steptoe
                                                                                  SICPTOC 6 JOHNSON LIP

1114 Avenue of the Americas
New York, NY 10036
212 506 3900 main
www.steptoe.com




December 3, 2018

By Email

Schmully Hecht
Shabtai, Inc.
279 Crown St.
New Haven, Connecticut 06511
sclunully(4)279crown.org

Re:      Shabtai, Inc. (f/lcia Eliezer, Inc.)

Dear Mr. Hecht:

        Our firm has been retained by Benny Shabtai in connection with his donations to Shabtai,
Inc. We write to urge you and Shabtai, Inc. to live up to commitments that were made long ago
to Mr. Shabtai but that have not been honored.

       As you know, in 2014, Mr. Shabtai agreed to make substantial donations to Shabtai, Inc.
to fund the purchase of 442 Orange Street in New Haven, which was to be the new home of the
Jewish leadership society at Yale, re-branded from Eliezer to Shabtai.

        In return, you and Shabtai, Inc. agreed to (among many other things) raise money to
furnish the new building and relocate the society there. Mr. Shabtai had held up his end of the
bargain, by donating over $1.7 million. To his great disappointment, however, you and Shabtai,
Inc. have not held up your end. As we understand it, the society is still operated from the old
location, and the Orange Street building is nowhere near where it should be. Mr. Shabtai's funds
have apparently been used for purposes outside the original vision and agreement, and several
other terms of the deal have not been honored.

        Mr. Shabtai would like to offer a period of time for a course correction, while making
clear that the current state of affairs is intolerable and cannot continue. To that end, we urge you
to begin immediately raising the necessary funds and renovating the Orange Street location, as
originally envisioned in 2014. We expect to see substantial progress towards that goal by the
end of March 2019. Otherwise, Mr. Shabtai will have no choice to pursue all legal rights
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regarding these matters, and will involve as necessary the Public Charities Unit of the
Connecticut Attorney General's office.

       Please let us know immediately if you are willing to honor this commitment, and, if so,
please keep us timely informed of your plans and progress. if you would like to discuss these
matters further, we are happy to speak with you or your counsel.
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March 13, 2019

By Email

Schmully Hecht
Shabtai, Inc.
279 Crown St.
New Haven, Connecticut 06511
schmully@i279crown.org

Re:     Shabtai, Inc. (f/k/a Eliezer, Inc.)

Dear Mr. Hecht

       As you will recall, our firm has been retained by Benny Shabtai in connection with his
donations to Shabtai, Inc., and I wrote a letter to you in December about your mismanagement of
Shabtai, Inc., and the need for a course correction.

       The December letter relayed Mr. Shabtai's generous offer to give you until the end of
March to show substantial progress, or else we would have to pursue our legal rights.
Unfortunately, we understand that little to nothing has been done since then.

       Please respond to this letter in writing by March 29, stating what if anything you have
done to rectify the situation, and what you plan to do and when. If we continue to hear nothing,
we will assume you will continue to do nothing — and will respond accordingly.

        For the avoidance of doubt, we reserve all rights.



                                                             Sincerely,



                                                             Charles Michael
